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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISIONAT DAYTON

 PLINIOALVARADOQUINONEZ                                      CASE NO. 3:21cvl59

        Plaintiff,
                                                             JUDGE WALTER H. RICE
 V.


 IMI MATERIAL HANDLING
 LOGISTICSINC., et al.
        Defendants.



                      ORDEROF DISMISSAL;TERMmATIONENTRY


        The Court havingbeen advisedby counsel for the parties that the above matter hasbeen
 settled, IT ISORDEREDthatthis actionisherebyDISMISSED,withprejudice asto theparties,

 providedthatanyofthepartiesmay,upongoodcauseshownwithin60days,reopentheactionif
 settlement is not consummated.

        Parties intending to preserve this Court's jurisdiction to enforce the settlement should be
 aware ofKokkonen v. Guardian Life Ins. Co. ofAmerica, 114 S.Ct. 1673 (1994), and incorporate

 appropriate language in any substituted judgment entry.

        TheCourtwillretainjurisdictionto enforcethetermsofthesettlementbetweentheparties,if

 necessary.

        IT IS SO ORDERED.



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                                              WALTERH. RICE,JUDGE
                                              UNITED STATES DISTRICT COURT
